         Case 5:07-cv-04050-RS Document 34 Filed 05/21/08 Page 1 of 2



 1   MATTHEW D. POWERS (Bar No. 104795)
     E-Mail: matthew.powers@weil.com
 2   CHRISTOPHER J. COX (Bar No. 151650)                        *E-FILED 5/21/08*
     E-Mail: chris.cox@weil.com
 3   GREGORY D. HULL (Bar No. 57367)
     E-Mail: greg.hull@weil.com
 4   WEIL, GOTSHAL & MANGES LLP
     201 Redwood Shores Parkway
 5   Redwood Shores, CA 94065
     Telephone: (650) 802-3000
 6   Facsimile: (650) 802-3100
 7   Attorneys for Defendants
     ACCELERGY CORPORATION, YOUQI
 8   WANG, PEIJUN CONG and YUMIN LIU
 9   QUINN EMANUEL URQUHART
     OLIVER & HEDGES, LLP
10     Claude M. Stern (Bar No. 96737)
        claudestern@quinnemanuel.com
11    Evette D. Pennypacker (Bar No. 203515)
        evettepennypacker@quinnemanuel.com
12   555 Twin Dolphin Drive, Suite 560
     Redwood Shores, California 94065-2139
13   Telephone:    (650) 801-5000
     Facsimile:    (650) 801-5100
14
       Mark D. Baker (admitted pro hac vice)
15      markbaker@quinnemanuel.com
     51 Madison Avenue, 22nd Floor
16   New York, New York 10010
     Telephone:   (212) 849-7000
17   Facsimile:   (212) 849-7100
18   Attorneys for Plaintiff
     Symyx Technologies, Inc
19
                                      UNITED STATES DISTRICT COURT
20
                                 NORTHERN DISTRICT OF CALIFORNIA
21

22   SYMYX TECHNOLOGIES, INC., a Delaware             Case No. C 07 04050 RS
     corporation,
23                                                    STIPULATION OF DISMISSAL;
                         Plaintiff,                   [PROPOSED] ORDER
24
             v.                                       Magistrate Judge Richard Seeborg
25
     ACCELERGY CORPORATION, a Delaware
26   corporation; YOUQI WANG, PEIJUN CONG
     and YUMIN LIU,
27
                         Defendants.
28


     STIPULATION OF DISMISSAL; [PROPOSED] ORDER                                 Case No. C 07 04050 RS
         Case 5:07-cv-04050-RS Document 34 Filed 05/21/08 Page 2 of 2



 1

 2                   The parties to the above-entitled action, by and through their respective attorneys,

 3   pursuant to Fed. R. Civ. P. 41(a)(1)(ii) hereby stipulate to dismiss this action in its entirety WITH

 4   PREJUDICE, subject to the terms and conditions of the Mutual Release and Confidential

 5   Settlement Agreement by and between all parties, effective May 20, 2008. Each party shall bear

 6   its own costs, expenses and attorneys’ fees.

 7   Dated: May 20, 2008                               WEIL, GOTSHAL & MANGES LLP
 8

 9

10                                                     By:       /s/ Christopher Cox
                                                                    Christopher J. Cox
11                                                              Attorneys for Defendants
                                                             ACCELERGY CORPORATION,
12                                                           YOUQI WANG, PEIJUN CONG
                                                                     and YUMIN LIU
13

14   Dated: May 20, 2008                               QUINN EMANUEL URQUHART OLIVER &
                                                       HEDGES LLP
15
16

17
                                                       By:      /s/ Evette Pennypacker
18                                                                  Claude M. Stern
                                                                Evette D. Pennypacker
19                                                               Attorneys for Plaintiff
                                                             SYMYX TECHNOLOGIES, INC.
20

21

22                                          [PROPOSED] ORDER
23                   PURSUANT TO STIPULATION, IT IS SO ORDERED.
24
              May 21
     Dated: __________________, 2008                      ____________________________________
25
                                                          The Honorable Richard Seeborg
26                                                        United States Magistrate Judge

27

28


     STIPULATION OF DISMISSAL; [PROPOSED] ORDER       2                                 Case No. C 07 04050 RS
